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                                   IN THE UNITED STATES DISTRICT COUR1f
                                   FOR THE WESTERN DISTRICT OF TEXAS
                                          SAN ANTONIO DIVISION
                                                                                        RECEIVED
                                                                                            SEP 112017
                                                                                       CLERK, U.S. DI$TRth
     ELVIN BROWN                                                                        STERN DfSTRICT

                                                          §
                      Plaintiff,                          §

                                                      \
                                                                  S A1 7           A08 84!5\E
     CE   AMERICA INSURANCE COMPANY,

     A
                      Defendants.                         §


TO HE HONORABLE JUDGE OF SAID COURT:

 CMES NOW PLAINTIFF, KELVIN BROWN (hereinafter referred to as "PIainiff'), complaining of
Defndant ACE AMERICA INSURANCE CO. SWITZERLAND I PENNSYLVANIA, LLJC and for a cause of action
woiId respectfully show unto the courts as follows:




                                                DISCOVERY

   wery Control Plan, pursuant to Rule 190.3 of the Texas Rules of Civil Procedure and or 26 through
37  Title V of the Federal Rules of Civil Procedure, Discovery Control Plan Level Two governs this
     uit; Request For Disclosure. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendants
are eq uested to disclose, within 50 days of service of this request, the information described in Rule
194. 2 of the Texas Rules of Civil Procedure.




                                                PARTIES       I


         Plaintiff KELVIN BROWN AKA RECTOR     is aresident of the State of Texs. Plaintiff currently
         resides in Bexar County, Texas and has resided there at all times mate!ial to lawsuit (FMR) 9430
         WINDING ELM P1 SAN ANTONIO TX, 78254




         Defendant Ace America Insurance Company is a foreign corporation located at Barengasse 32,
         Zurich, Canton of Zurich Switzerland 8001 and incorporated in the State of Pennsylvania and
         principal place of business is located at Po Box 1000, 436 Walnut Street Philadelphia PA 19106.



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                                         MISNOMER    / MISIDENTIFICATION
                                                      _




In   t
     event any parties are misnamed or are not included herein, it is PIaintiffs contention that such
was "misidentification," "misnomer" and/or such parties were "alter egos" of parties named herein.
    iatively, Plaintiff contends that such "corporate veils" should be pierced o hold such parties
         'rly included in the interest of justice.




                                              JURISDICTION   & VENUE   II

           Venue is proper in the Bexar County Western District Federal Court beause personal
           jurisdiction is limited! specific, over the Defendant because it's a FedeaI Question Case   (   please
                                                                       of Federl Law) and Diversity Case
           see 28 U.S.C. § 1331 cases where the issue involves violation
           (please see 28 U.S.C. § 1332 cases where the Plaintiff and Defendant re citizens of different
           states and the amount in controversy exceeds the sum or value of $75,00O.00, exclusive of
           interest and costs) The Defendant violated The Uniform Deceptive Trlde Practices Act. The
           Defendant and the Plaintiff are citizens of different states and or countries.


           Plaintiff has suffered damages in the amount of two million, seven thousand and two hundred
           dollars ($2,007,200.00). This amount is within the jurisdictional limits of this court. Pursuant
           Federal Civil Procedure Rule 28 U.S.C. § 1332, Plaintiff in good faith pleads that the value of this
           case exceeds seventy five thousand dollars$ ($75,000.00).




                                              STATEMENT OF FACTS Ill

           At all times relevant to this case of action Plaintiff at the time of his independent contractor
           duty was a policyholder of the Defendant. According to 26 U.S. Code 414(n) The policy is not
           governed by ERISA.

The       fendant AAIC has violated the Texas Insurance Code and the Texas Deceptive Trade Practices Act
          "), as well as for breach of the duty of good faith and fair dealing,




The  efendant awarded the Plaintiff's Disability Income benefits for his occupational Injury sustained on
September 15, 2015 and paid benefits up until September 1, 2016 (estimate of about 52 weeks). The

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Defe dant erroneously states that the same occupational injury they awarded benefits is now no longer
supp rted without evidence of a reasonable investigation.      The Plaintiff has already been receiving   1DB

bene its for his impairments. In McCartha v. Nat's City Corp., 419 F.3d 437, 44 (6th Cir. 2005), the
Cou s concluded: "The Administrator must state all the grounds on which it u timately relies on in the
origi al denial letter." Thus the Defendant's argument that the Plaintiff's disab lity is no longer
supp rted without stating on all grounds on which it ultimately relied upon in ts original determination
make this argument obsolete without any reasonable justification. The Defendant's claim is groundless.




The  efendant's decision was not based on the requirements and criteria reqiired to prove disability
pert e policy. The Defendant is in direct violation of Texas Law. AAIC's condict constitutes unfair and
dece tive acts and practices, as well as misrepresentations, in the business of nsurance in violation of
§   5 1.051, 541.052, 541.060, 541.061 and    others of the Texas Insurance Cod

The laintiff's Disability Income Benefit Policy provisions require the following riteria to be met:

Defin tions Page 22 (KB.GALL.27)

Occu ational Accident:

A sudden, unforeseen event, or series of events that are work related and tha result in bodily injury
withi 72 hours of the date of the event. This event must meet all the followirg:

(1) It   ust happen while You are Under Contract with the Policyholder and peiforming Your contract
oblig tions under that contract.

(2) It knust happen while You are covered under this Plan.

(3) 1 e bodily injury must result directly from the Occupational Accident and    nt be the result of any
othe cause.

Occu ational Accident does not include any of the following:

                                  of any type, unless such hernia: a) appeared suddenly and
(1) A gression in a fight. (2) Hernia
imm diately following an Occupational Accident; b) did not exist in any degree prior to the Occupational
Accid nt; c) was accompanied by pain; and d) required immediate medical attention (3) Suicide or
atte pted suicide. (4) Cumulative Trauma, unless specifically covered by this Plan. (5) Occupational
Disease, unless specifically covered by this Plan.




The   laintiff was injured during the course of his occupation when he tried to lft and align his trailer
onto is truck using a crankshaft that was stuck and required the Plaintiff to ue maximum force and
exert on which resulted in the onset of his lower back pain! injury that occurred on September 15, 2015.



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TheIIaintiff met all three (3) criteria of the Defendant's Occupational   Acc      policy provision that
wereinitially awarded to him.

The  efendant Failed to Perform a Vocational Analysis of the Plaintiffs Occupation as an Independent
Cont actor. The Defendant failed to reasonably base its determination on Cler Policy language.

The     efendant terminated the Plaintiffs claim for benefits without conductin    a   reasonable
inves igation of the Plaintiffs policy's requirements. The definition of Total Diability requires the
Plain   if have the inability to perform all the material and substantial duties ofhis Regular Occupation.
The  efendant failed to investigate the Plaintiffs Regular Occupation. (A crucial element of proving,
whet er or not, a claimant is totally disabled.)

The   f rst step in determining whether a claimant is totally disabled from their reguIar occupation is to
start    ithlisting of the material and substantial duties of that occupation at ssue. Without this
               a

analy is and determination the Defendant's consultant reviewers cannot dete mine what residual
funct onal capacity the Plaintiff needs in order to be considered Totally Disabl d under his Disability
Inco e Benefits. The Defendant's reviewers do not mention any "duties" or       "finctions" in its denial
lette nor did Defendant provide any vocational assessment of the Plaintiffs occupation to justify its
dete ination, which is an important and critical piece of the Plaintiffs disability claim. The Defendant
has u lawfully and unfairly misinterpreted the definition of Total disability to cne that heightens the
appa ent burden on the Plaintiff to prove his disability. This material misinterpretation to the Plaintiff,
impl ing a different standard of the plain reading of the plans definition to appear less favorable is a
direc violation of Texas Law.

Clear y, the Plaintiffs well-being would be severely compromised and he wouldn't be unable to sustain
this t pe of physically demanding work. Therefore, the Defendant's determination is not reasonable or
relia le given the medical records as a whole supports that the Plaintiff does not have the functional
capa ity to sustain his regular occupation at this time.

The   llaintiff met the criteria of the policy and isTotally Disabled per the termsof the policy. The
Deferdant refused to base its decision on the terms of the policy. The Defendant tries to discredit
evidece to reach a termination of benefits made without substantial evidence. Consequently, the
Deferidant's conduct is prohibited by the Deceptive Trade Practices Act ("DTPA") governing the claim.
The Lefendant has the fiduciary duty to evince specificity, clarity, and transparency in the interpretation
of its policy definitions and has an affirmative duty to communicate these truthfully. The absence of
mate ial language affecting the plain reading of the policy is a contravention of the Defendant's fiduciary
duty, which falls far short of this obligation.



The   efendant's Determination to Award The Plaintiff's Disability Income BenØfits was not made in Error
and S ands Affirmatively because the Plaintiff met the terms of his plan and ws awarded benefits in
refle tion.



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The Lefendant was provided medical evidence at the time the Plaintiff filed                  for   benefits and clinically
docuifnenting on the Plaintiffs occupational injury. The reasons given by the lefendant are not rational
once nown facts are more closely examined. The termination by the Defendait was erroneous as well
as arLitrary. See Deegan v. Continental Casualty Company, Nos 98-15071, 98-15153 (9th Cir. 1999)

The   efendant breached its Fiduciary Duty by presenting several material misrpresentations of the
Plan' true meaning to support a termination of benefits and request overpaytients of benefits of the
Plain          if.
The   efendant's November 7, 2016, decision to terminate the policy undermires the confidence of its
first utcome in awarding benefits to the Plaintiff. Further, the Defendant's deision to terminate the
Plain iffs Income Disability Benefits is made with obvious legal error and serioisIy affects the fairness
and        i   tegrity of the Plan that undoubtedly shows the Defendant's abuse of disretion.



The   efendant contends that the Plaintiff was not forthcoming in his filing for Iisability benefits when
he ml ially went out   of work as an Independent Contractor. The Defendant coicIudes that his claim for
disab lity benefits altogether was made in error and that the Plaintiff is now liabIe to repayment. The
recor refutes this conclusion with factual evidence to show otherwise and tht the Defendant's
termination was done so with an abuse of discretion, violating Texas law and is fiduciary duty to
provi e a reasonable claims process. All records and information submitted to the Defendant were sent
forth oming upon each request as soon as reasonably possible.

The lefendant is in violation of Sec. 541.053, Defamation of an Insurer. (a) It is an unfair method of
comIetition or an unfair or deceptive act or practice in the business of insurance to directly or indirectly
mak4 publish, disseminate, or circulate or to aid, abet, or encourage the makiig, publication,
dissenination, or circulation of a statement that:

(1)    i       false, maliciously critical of, or derogatory to the financial condition of an insurer; and

(2)        i    calculated to injure   a   person engaged in the business of insurance. (b) This section applies to any
oral           r written statement, including a statement in any pamphlet, circular, article, or literature.

As a esult           of the Defendant's negligence and prejudiced review, The Plaintiff has suffered actual
dam            ges in the form of past due benefits and continues to suffer actual damages in the amount of
futur            benefits, as well as mental anguish from the Defendant's deceptive trade practices. The
Defe            dant has an obligation to establish and maintain reasonable claims procedures. The Defendant
and        i   s agents are required by law to ensure that its actions are for the benefit of its participants.




The            efendant made false allegations stating that the Plaintiff had     a   preexisting condition and his
medi al illness is the reason for his injury.



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Unth r contract law, exclusions must be interpreted narrowly and established y substantial evidence, it
isals well-established by federal case law that the burden is upon the insurer to demonstrate that the
insur sd's claim falls within the terms of an exclusionary clause, and that such c auses are interpreted
narr wly. A pre-existing condition clause is such an exclusionary clause, warrai iung narrow
inter retation. Courts have found that before imposing a pre-existing conditic n limitation, plan
spon ors must carefully evaluate whether a particular condition is "directly att -ibutable" to the pre-
exist g condition. Medical conditions which merely "contribute towards" acci dents or illnesses, but are
not" Jirectly attributable" to the pre-existing condition may not be excluded. F urther, "a pre-existing
infirnity or disease is not to be considered as a cause unless it substantially co' itributed to the disability
or lo s. [A] 'predisposition' or 'susceptibility' to injury, whether it results from :ongenital weakness or
from previous illness or injury, does not amount to a substantial contributing c use. A mere
'relat onship' of undetermined degree is not enough." Colonial Life & Accident Ins. Co. v. Weartz, 636
S.W4d 891 (Ky. Ct. App. 1982)(internal citations omitted).

The c aims procedures contain administrative processes and safeguards desigred to ensure and to verify
that enefit claim determinations are made in accordance with the governing plan document and that,
wler appropriate, the    plan provisions have been applied consistently with     repect to similarly situated
claim nts. The Defendant's initial award of benefits was reasonably reviewed efore awarding benefits
and ad already been reviewed for a pre-existing exclusion. The Defendant's dlaim is groundless as the
Plain ifwas already paid benefits for his disabilities.




AAIC' Defense Medical Examinations are Discriminatory in Nature and are Uneasonable and
Unre iable.

The   efendant notes that two (2) Independent Medical Examinations ("IME") were performed on the
Plain ifon April 6, 2016 and on August 4, 2016. These examinations are referted to as a Defense
Medi al Examinations ("DME"), because these physicians are not independent doctors. These physicians
who xamined the Plaintiff were hired by the Defendant and were paid by the Defendant. Often, these
doct rs derive a significant percentage of their income from such exams whicI creates a bias.
Acco dingly, these physicians had a financial incentive to produce favorable reports on behalf of the
Defe dant.  Lawrence Lenderman, M.D., P.A. On April 6, 2016, a defense medial examination was
cond cted by Lawrence Lenderman, M.D., P.A., Board Certified in Orthopedic urgery on the Plaintiffs
claim The Defendant does not provide how much Dr. Lenderman was paid fo his services; however, his
exam nation erred as follows:

1. Dr. Lenderman did   not speak with Plaintiffs physician(s).

2. Dr. Lenderman is an orthopedic surgeon not a pain management physician. An Orthopedic surgeon
woul4l only be consulted if all conservative remedies had been exhausted.

3. Dr. Lenderman's examination ignoresor is contrary to controlling medical authority such as the
NatioiaI Standards for The American Academy of Neurology.


                                                                                                              [;1
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4. Dr. Lenderman's examination fails to specify the medical standard upon which it relies.

5. Dr. Lenderman's examination is based on            faulty or incorrect information.

6. Dr. Lenderman's      report is conclusory.

7. Dr.Lenderman's examination cherry picks the information by over emphasizing information                   that
supperts the insurer's position and de-emphasizing information that supports disability.

8. Dr. Lenderman failed to consider the Plaintiff's regular occupation. (i.e. fast pace, stress, physical
demands, etc.)

9. Dr.Lenderman failed to credit credible complaints           of the Plaintiffs inability to physically work in his
manual labor occupation.

10. D   .   Lenderman conducted a selective review of records.

11. D   .   Lenderman failed to apply the proper definition of disability. The report does not consider the
stand rd of disability specified in the policy.

12. D   .   Lenderman failed to credit the Plaintiffs treating physician's opinions.

13. D   .   Lenderman's addendum dated May 31, 2016 just restates his initial report with no new evidence
to su port his position.

14. D   .   Lenderman's examination lasted      a   total of 21 minutes and the initial exam itself lasted
appr ximately 10 minutes.

15. D   .   Lenderman's report uses derogatory and biased words of "apparently', 'essentially'




Patri k Waikem, DC Letter of Rebuttal of Dr. Lenderman's Defense Medical Examination                   5/19/16 On
May 9,2016, Dr. Waikem wrote a rebuttal letter on behalf of the Plaintiff that stated:

"I am in receipt of the IME report by Dr. Lenderman, M.D. I disagree with Dr. Lenderman's opinion that
epidu al steroid injections are not indicated. The lumbar MRI on 12/28/15 had impression of L4/L5 mild
broa -based right paracentral disc herniation contributing to moderate central canal stenosis with right
later I recess and right neural foraminal narrowing, which may affect the right L4 and 15 nerve roots.
The    findings correlate with my initial exam of hypoesthesia along the L3, 14, and L5 dermatome
        RI

with inwheel testing. The ODG guidelines are the following when ESI's are inIicated: The American
Acad my of Neurology recently concluded that epidural steroid injections may lead to an improvement
in radicular pain between 2 and 6 weeks following the injection...Epidural stercid injection can offer
short term pain relief and use should be in conjunction with other rehab effecs, including continuing a
hom exercise program ..... Lenderman opinion that Mr. Brown shouldn't be rturning to work without
restri tions. Mr. Brown is currently taking [medications] that include codeine hich is a narcotic. This
woul preclude him from being able to return to work since he operates a tractor-trailer."

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After the Plaintiff preformed his first IME, Plaintiff with to another Orthopedic Surgeon and had his MRI
read nd the Surgeon was honest. Dr. Duncan gave the Plaintiff a 68 percent cisability rating and
diagn sed him with radiculopathy




Spon ylosis would prove a pre-existing conditions because Spondylosis defines pre-existing. If an
indivi ual has spondylosis this would confirm         a   cumulative injury that took place over a period of time
beca se spondylosis is referred to as spinal osteoarthrosis, the age-related wear and tear of the spinal
colu     n, which is   the most common cause of spondylosis.

Dr. D ncan diagnosed the Plaintiff with Lumbar radiculopathy, herniated disc and spondylolisthesis. Dr.
Dunc n didn't diagnose the plaintiff with osteoarthrosis.

Oste arthritis (OA) is a joint disease represented by degeneration of cartilage, meniscus, subchondral
bone and other tissues due to ageing and mechanical load, abnormal proIifertion of synovium, and
bone and cartilage overgrowth.




Gilbe     R.   Meadows, M.D.

On A gust 4, 2016,       a   defense medical examination was conducted by Gilbert        R.   Meadows, M.D., Board
Certi ied in orthopedic surgery and spinal surgery on the plaintiffs claim. The
                                                                          efendant does not
provi e how much Dr. Meadows was paid for his services; however, Dr. Meadows' examination erred as
folIo 5:

1. Dr.   Meadows did not speak with Plaintiffs physician(s).

2. Dr. Meadows is an orthopedic surgeon not a pain management physician. An Orthopedic surgeon
woul only be consulted if all conservative remedies had been exhausted.

3. Dr Meadows' examination ignores or is contrary              to controlling medical authority such   as   the National
Stan ards for The American Academy             of Neurology.

4. Dr. Meadows' examination fails to specify the medical standard upon which it relies.

5. Dr. Meadows' examination is based on           faulty or incorrect information.

6. Dr. Meadows'        report is conclusory.

7. Dr Meadows' examination cherry picks the information by over emphasizin information                      that
supp rts the insurer's position and de-emphasizing information that supports 1isability.

8. Dr Meadows failed          to consider the Plaintiffs regular occupation. (i.e. fast pce, stress, physical
dem nds, etc.)
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9. Dr. Meadows failed        to credit credible complaints of his inability to physicall' work in his manual labor


10.   D. Meadows conducted a selective review of records.

11.   D. Meadows failed to apply the proper definition of disability.        The report does not consider the
            rd of disability specified in the policy.

12.   D. Meadows failed to credit Mr. Brown's treating physician's opinions.

13.   D. Meadows' examination          lasted a total of 46 minutes, out of the 46 minutes he only performed      a 5

to 6 riinute examination.

14. D   .   Meadows' falsely accuses Mr. Brown of symptom magnification without any testing to confirm
such    iased opinion.




The    efendant at best was over zealous in relying upon this information to deermine that the Plaintiff is
capa le of doing his regular occupation. It is clear that the Plaintiff would not be capable of sustaining
this t pe of work continuously on a day to day basis.

Neith r Dr. Lenderman nor Dr. Meadows can scientifically project    claimant's ability to perform a 5 day
                                                                            a
a we k job on a continuous basis based on an examination that was less than an hour. The Defendant's

exam failed to meet the established standards and failed to truly measure the Plaintiffs physical abilities
requi ed in his regular occupation. Both examinations were biased in nature and unreliable given the
medi al records as a whole support that would not be able to return to his regular occupation due to his
sever back impairments sustained on September 15, 2015.




The Eefendant Failed to Conduct          a   Reasonable Investigation of the Plaintiffs claim.

The E!efendant appears to have gone to great lengths to create/manufacture favorable evidence in
regar to this claim. These actions are indicative of an active conflict of interest present in the Plaintiffs
claim The Defendant is charged with paying out claims on its insurance policies but has also reserved
the ri ht to interpret the policy terms giving the Defendant the unique advantage to deny credible
claim

The cefendant has displayed unfair practices with their procedures and denialof the Plaintiffs claim for
beneIts. Under section 51:1408, Court may grant additional relief to compensate any aggrieved parties.

The efendant has also used unfair settlement practices on the Plaintiffs claims with the Defendant.
Purs ant to section 541.060, the Defendant has behaved unfairly and deceptively in the business              of
insur nce by engaging in the following settlement practices with respect to           ac   aim by an insured or
bene iciary:


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(1)       ;representing to a claimant a material fact or policy provision relating to overage at issue;

(2)   f   iling to attempt in good faith to effectuate a prompt, fair, and equitable ettIement of:

(A) a claim with respect to which the Defendant's liability has become                   reasonbly clear; or

(B) a claim under one   portion of a policy with respect to which the Defendant' liability has become
reaso ably clear to influence the claimant to settle another claim under anothr portion of the coverage
unles payment under one portion of the coverage constitutes evidence of Iiathlity under another
porti n;

(3)   filing to promptly provide to a           policyholder a reasonable explanation of the basis in the policy, in
relatin to the facts or applicable          law, for the Defendant's denial of a claim or offer of a compromise
settlment of a claim;

(4)   fiIing within a reasonable time to:

(A) affirm or deny coverage           of a claim to     a   policyholder; or

(B)   siibmit     a   reservation of rights to   a   policyholder;

(5)   rfusing, failing, or unreasonably delaying a settlement offer under applicable first- party coverage
on th basis that other coverage may be available or that third parties are responsible for the damages
suffeed, except as may be specifically provided in the policy;

(6) u dertaking to enforcefull and final release of a claim from a policyholder when only a partial
                                     a

payment has been made, unless the payment is a compromise settlement of adoubtful or disputed
claim

(7) r fusing to pay a claim without conducting                  a   reasonable investigation with respect to the claim;

 (8) r quiring        a   claimant as a condition of settling a claim to produce the claimant's federal income tax
retur     s for   examination or investigation by the person unless:

(A) a court orders the claimant to produce those tax returns;

(B)   tIe claim       involves a fire loss; or

(C) tttie claim involves lost       profits or income.

(b)   S   bsection (a) does not provide          a   cause of action to a third party assertingone or more claims
again     t   an insured covered under      a    liability insurance policy.

The efendant may not "sandbag" a claimant by failing to permit the claimantto review and comment
upon all documents, records, and information relevant to the claim. See Abram v. Cargill, Inc., 2005 U.S.
App. EXIS 1142            *841 (8th Cir. 2005) ("The process used by the           Plan was not donsistent with a full and
fair r view. Abram was not provided access to the second report by Dr. Gedar that served as a basis for


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the    P   an's denial of benefits until after the Plan's decision). See also, Saffon v. Nells Fargo & Co. Long
Term Disability Plan, 511 F.3d 1206, 1215 (9th Cir. 2008) ("Insofar as MetLife b ?lieved that        a   Functional
Capa        ity Evaluation, or some other means of objectively testing Saffon's ability to perform her job, was
nec        sary for it to evaluate Saffon's claim, it was required to say so at a time hen Saffon had a fair
cha        e to present evidence on this point."); Kosiba v. Merck, 384 F.3d 58 (3d C ir. 2004) (the Defendant's
hiri        of a reviewing doctor after a claim decision was made undermines any d ference being given to
the        efendant's decision.).




                                                ALLEGORY CONCLUSION




The ( efendant breached its duty of good faith and fair dealing by terminating md delaying full payment
of be efits to the Plaintiff when the Defendant's obligations were reasonably lear and the Defendant
kne or should have known that there was no reasonable basis for withholdin any part of the Plaintiffs
pa

Defe dant has thus failed to effectuate a prompt, fair, and equitable settlement of the Plaintiffs claim,
thou h the Defendant's liability remains consistently clear. As a result of this breach of duty of good
faith nd fair dealing, the Plaintiff suffered damages consisting of the loss of the benefit-of-the-bargain
that e reasonably expected to be due under the Plan.

The        lefendant   has been provided substantial evidence by the    Plaintiffs treating physicians, who found
that he Plaintiff is not able to work at this time. The Defendant de-emphasized medical evidence
sugg sting a contrary conclusion and the record as a whole does not support the Defendant's
termination of benefits.



AAIC' Breach of Contract

The Eefendant's conduct constitutes         a   breach of the Plan. The Plan is a contract as its existence arose
from a bargained for exchange between the Plaintiff and the Defendant. The Defendant failed to
perf rm in accordance with the terms of the Plan. The Plaintiff has incurred losses, which should have
been compensated by the Defendant as those losses were covered under the Plan. The Defendant has
faile to perform its obligations under the contract by failing to pay the full amount of the Plaintiffs
claim by terminating benefits to the Plaintiff. This conduct constitutes a breach of the contract between
the P aintiff and Defendant

The  efendant's Violations of the Texas Insurance Code It is our contention tIat the Defendant's
cond Ct constitutes unfair and deceptive acts and practices, as well as misrepresentations, in the


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busi            of insurance   in violation   of § 541.051, 541.052, 541.060, 541.061 anI others of the Texas
I   nsu          Code.

As p           of its common law duty, and    codified in the Insurance Code, an insuer has an obligation to
                                                 as
cond            an adequate investigation before terminating a claim. An insurer will tot escape liability merely
by fai ing to investigate       a   claim so that it can contend that liability was never rasonabIy clear.




The efendant violated the Texas Deceptive Trade Practices Act ("DTPA"), which is part of the Business
and  ommerce Code. The Defendant has misrepresented characteristics, benefits, obligations, and
othe aspects dealing with the contract for Income Disability Benefits and Accident Medical/Dental
                benefits, violating the Business and Commerce Code       §   17.46 and others.




An in urer breaches its duty of good faith and fair dealing when "the insurer had no reasonable basis           for
denying or delaying payment of [a] claim, and [the insurer] knew or should have known that fact."
Tran portation Ins. Co. V. Moriel, 879 S.W. 2d 10, 18 (Tex. 1994); see Aranda v. Insurance Co. Of N. Am.,
748 S.W. 2d 210, 213 (Tex. 1988). Under Texas law, carriers will maintain the rght to deny invalid or
ques lonable claims and will not be subject to liability for an erroneous denial of a claim. Carriers that
brea h the duty of good faith and fair dealing, however, will be subject to liability for their tortious
cond ct. An insurer will not escape liability merely by failing to investigate a claim so that it can contend
that ability was never reasonably clear. An insurance company may also breach its duty of good faith
          I


and f ir dealing by failing to reasonably investigate a claim.




                                                         DAMAGES IV

               Although the Plaintiff has been cooperative and forthcoming during his claim for disability
               benefits in proper form and within a reasonable time specified by the policy, the Defendant
               terminated his claim. There was and is no justifiable basis for this termination. As a result, the
               Plaintiff has suffered actual damages in the form of past due benefits and continues to suffer
               actual damages in the amount of benefits he would be entitled to in the future as he continues
               to remain "totally disabled." Further, the Defendant's wrongful termination of the Plaintiffs
               full claim has caused the Plaintiff to suffer severe mental anguish with unpaid medical expenses
               for spinal / dental surgery. Plaintiff has incurred other medical attention in the past. These
               expenses incurred were necessary for the care and treatment of the injuries sustained by
               Plaintiff, and the changes made and to be made were the usual and customary charges for such
               services. Plaintiff will require further medical care that falls outside the scope of medicare and
               attention and will necessarily incure reasonable expenses in the furture for such medical needs.
               Plantiff makes a claim herein for all past and future medical care.

                                                                                                                 12
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PIainiff has suffered mental pain and anguish in the past. Plaintiff will continie to suffer mental pain
and anguish in the future.

As a esult    of lost treatment Plaintiff has suffered and will continue to suffer inpairment to his body.



The laintiff has documents that state Mr. William Craven is the doctor over Idoking the appeal decision.
On 0 /08/17 the Plaintiff spoke with Mr. William Craven and Mr. Craven stated that the law firm would
have      decision regarding the claim decision by 09/15/17. Mr. Craven also stated that they believe the
inju   is pre-existing. The   Defendant hasn't made a decision to settle my claim in two years. The
Defe dant has exercised bad faith using unlawful delay tactics. The reason the Defendant is waiting
until 9/15/17 to cast a decision regarding the Plaintiffs claim is because after his date the Plaintiffs
statu of limitation expires. After the statue of limitation expires the Plaintiffswon't be able to sue the
defe dant for bad faith and deceptive practice and this would render the Plairtiffs case groundless.




The Eefendant's unlawful trade practices have caused the Plaintiff harm as folows:




Lost esidence

Lost   llfurniture

Majo debt

Carr      0


Credit destroyed

       in dangerous community

Unable to receive medical treatment

lncresed physical pain

Deprssion

Finankial loss

Failu e   to provide for family

Unab e to attend dental/back surgery

              sickness

Extrene Poverty

                                                                                                             13
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Pe          al Social rejection b/c situation




Men al frustration and anguish

Pote tial shortening of life due to pain medication

Phan om pain

Extre       e paranoia

Extre e Bipolar

Pers nal social anxiety

Corn ulsive disorder

Pers nality disorder

Adju tment disorder to environment

Slee disorder

Seve e confusion

Not        anting to be

Chro ic Headaches

Tired ess/dizzy

Incre sed nightmares

Feeli gendangered




This   i   just to name
                    few life altering events that have taken place and or increased since the Defendant
                          a
wronfully canceled the Plaintiff's insurance policy



Due    the Defendants acts of bad faith and deceptive trade practice the Plainliff is entitled to punitive
dam ges because of the Defendant's gross negligence. The Defendant's acts dr omissions, involved an
extre e degree of mental anguish, pain and suffering and physical harm and or pain from non medical
treat ent. The Defendant had actual, subjective awareness of the risk in which the Defendant inflicted
upon the Plaintiff, but nevertheless proceeded with conscious indifference to the rights and welfare of
the P aintiff. Plaintiff is entitled to punitive damages in a sufficient amount topunish Defendant for its


                                                                                                         14
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            heedless and intentional conduct and to set an example for others that such conduct will not
be




Finarcial Damage Relief are as follows:




         ge Chiropractor expenses ( $75.00wk x 4wks = 300.00mo x l2mo = $3,600.00yr x 32yrs
=$ 11 ,200.00)




Total disability ( 700.00wk x 4wks       =   2,800.00mo x l2mo = $33,600.00yr x 32yrs = $1,075,200.00)




Radic      pathy / Stenosis surgery ($115,000.00)




Pain        suffering for past, present and future. $700,000.00




Total damages $2,007,200.00




All th Plaintiffs future medical expenses are unknown at this time. Plaintiff will supplement as
disco ery continues.

Furthermore, the monetary value of the Plaintiff's past and future pain and suffering              is   left up to the
discr tion of the jury.

The      onetary value of plaintiffs past and future impairment is left up to the discretion of the jury.

The    llaintiff asserts common law negligence claim against Defendant.




                                                     JURY DEMAND

Plaini     demands   a   jury on all issues so triable.   He has   tendered the appropriate fee.




                                                                                                                         15
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                                                     PRAYER

  WHEEFORE, PREMISES, CONSIDERED, Plaintiff prays that Defendant be cited to appear and answer,
  and that upon final trial, Plaintiff have judgment against Defendant for all relief requested, for pre-
  judgrient interest, post judgment interest, for cost of this suit, and for such other and further relief,
  geneal and special, at law or in equity, to which Plaintiff is entitled.




            Ily submitted,




  IS'   Ivin Brown




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